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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Elizabeth Silver-Fagan, Edward D. Fagan,

Plaintiffs, : Civil Action No. 08-cy-640 (PGS)

ORDER
David H. Jaffe et al.,

Defendants.

This matter comes before this Court on an Order to Show Cause filed by Plaintiffs Edward
D. Fagan and Elizabeth Silver-Fagan, seeking a temporary restraining order prohibiting various
actions of the Defendants and their counsel, and having considered the moving papers and arguments
of Edward D. Fagan, pro se, Elizabeth Silver-Fagen, pro se and Margaret Rogers, pro se::, and Peter
Tull, Esq., on behalf of defendants (David and Margaret Jaffe); and for the reasons set forth on the
record:

IT IS on this 1° day of April, 2008;

ORDERED that Plaintiffs request for order restraining Defendants and their counsel from
destroying any records related to this lawsuit is denied for failure to present any evidence that
destruction of documents was imminent, and it is further

ORDERED that the Temporary Restraining Order of Magistrate Judge Salas dated March
18, 2008, concerning certain photographs that appear on Margaret Rogers’ MySpace page, is

extended until June 1, 2008; and it is further

ORDERED the said Temporary Restraining Order sealing Docket Entry No., 8, is hereby

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extended until June |, 2008, so that Ms. Rogers may have the opportunity to obtain counsel and file
a motion for a protective order; and it is further
ORDERED that the motion to dissolve the temporary restraining order (Docket Entry No.

11) is denied.

Pon Mone dann

PETER G. SHERIDAN, U.S.D.J.

April 1, 2008

